      Case 3:12-cv-00059-JAG Document 325 Filed 04/23/19 Page 1 of 3 PageID# 8873
CIVIL NON-.IURV TRIAL OR MOTION HEARING
MINUTE SHEET                                                                       DATE:     4/23/19

 United States District Court                            Eastern District of Virginia - Richmond Division
 CASE TITLE                                              CASE NO:        3:12CV59

 United Stales
                                                         JUDGE:       Gibney
                             V.

 Commonwealth of Virginia
                                                         COURT REPORTER: G. Halasz, OCR



MATTER COMES ON FOR: BENCH TRIAL( ) MOTION HEARING( )
                                  OTHER: Hearing on Compliance Indicators

APPEARANCES: Parties by(w^with{ )counsel                    Pro Se( )

PROCEEDINGS:
WITNESSES EXCLUDED ON MOTION OF: PLAfNTIFF(S)( )                          DEFENDANT{S){ )Court( )
OPENING STATEMENTS MADE( )       OPENING WAIVED( )
PLAINTiFF(S) ADDUCED EVIDENCE( )
DEFENDANT(S)ADDUCED EVIDENCE( ) RESTED { )MOTION( )
EVIDENCE CONCLUDED{ )                    ARGUMENTS OF COUNSEL HEARD(x)


CASE CONTINUED UNTIL
ADDITIONAL NOTATIONS:
                                                                                            — --iff




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Counsel for Plaintifl(s)                  O             I             '                          /     '



A\l\J!;an                                         C!iLr-hta
Counsbl for Defendbnt(s) ^
                                                "fle-fcher

SET: 9:00 a.m.       BEGAN: 9: Qg a.m.          ENDED:            '
                                                               »,m.            TIME IN COURT:
                                                                                              ^ 5:25
RECESSES:

 loios-10/I5a r"v IX'-Ol-(iOI^-rrs.^ 5C.SLI -                                      3'.%-S'.'5l^^.rr\ ■
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